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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

BRITTANEY BAILEY,                            §
on behalf of herself and all others          §
similarly situated,                          §
                                             §
                    Plaintiff,               §
                                             §   CIVIL ACTION NO: 2:17-cv-77
       vs.                                   §
                                             §
HOWBRO INVESTMENTS, LTD                      §
D/B/A BUFFALO WILD WINGS;                    §
BWWGP, INC.; KENDALL HOWARD;                 §
LUBBOCK BWW MGMT, LLC;                       §
WOLFFORTH WINGS, LTD D/B/A                   §
BUFFALO WILD WINGS; HOW NO. 1,               §
INC.; LUBBOCK WILD WINGS, LTD                §
D/B/A BUFFALO WILD WINGS;                    §
MIDLAND WINGS, LTD D/B/A BUFFALO             §
WILD WINGS; PERMIAN BWW                      §
MGMT, LLC; ODESSA WINGS,                     §
LTD D/B/A BUFFALO WILD WINGS;                §
AMARILLO WILD WINGS, LTD D/B/A               §
BUFFALO WILD WINGS; AMARILLO                 §
BWW MANAGEMENT, LLC; and EAST                §
AMARILLO WINGS, LTD; D/B/A                   §
BUFFALO WILD WINGS;                          §
                                             §
                                             §
                    Defendants.              §

  DEFENDANTS’ FEDERAL RULE OF CIVIL PROCEDURE 26(a)(3) DISCLOSURES

       COMES NOW Defendants Howbro Investments, Ltd d/b/a Buffalo Wild Wings,

BWWGP, Inc., Kendall Howard, Lubbock BWW Mgmt, LLC, Wolfforth Wings, Ltd d/b/a

Buffalo Wild Wings, How No. 1, Inc., Lubbock Wild Wings, Ltd d/b/a Buffalo Wild Wings,

Midland Wings, Ltd d/b/a Buffalo Wild Wings, Permian BWW Mgmt, LLC, Odessa Wings, Ltd

d/b/a Buffalo Wild Wings, Amarillo Wild Wings, Ltd d/b/a Buffalo Wild Wings, Amarillo



DEFENDANTS F.R.CIV.P. 26(a)(3) DISCLOSURES                                           1
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BWW Management, LLC and East Amarillo Wings, Ltd d/b/a Buffalo Wild Wings , who

provide the following disclosures:

                                          WITNESSES

       Kendall Howard                                        Expect to present
       c/o Law Office of Michael H. Carper, P.C.
       1102 Main Street
       Lubbock, Texas 79401
       806-747-3016
       Defendant

       Misty Meeker                                          Expect to present
       c/o Law Office of Michael H. Carper, P.C.
       1102 Main Street
       Lubbock, Texas 79401
       806-747-3016
       Employee of Defendants

       Other employees of Defendants as yet unknown          Expect to present
       c/o Law Office of Michael H. Carper, P.C.
       1102 Main Street
       Lubbock, Texas 79401
       806-747-3016
       Employees of Defendants

       Randy O’Neal                                          Expect to present
       c/o Law Office of Michael H. Carper, P.C.
       1102 Main Street
       Lubbock, Texas 79401
       806-747-3016
       Defendants’ Retained Expert

       Robert N. Nebb                                        May present
       Michael H. Carper                                     May present
       Law Office of Michael H. Carper, P.C.
       1102 Main Street
       Lubbock, Texas 79401
       806-747-3016
       Attorneys for Defendants

Defendants hereby cross-designate all witnesses designated by Plaintiffs.




DEFENDANTS F.R.CIV.P. 26(a)(3) DISCLOSURES                                                  2
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                                         EXHIBIT LIST

Exhibit 1              Retained expert’s report, if any              Expect to Offer
Exhibits 2-199         Payroll records of all Plaintiffs             Expect to Offer

Discovery is ongoing in this case and Defendants reserve the right to supplement these
disclosures as discovery is completed.

                                               Respectfully submitted,

                                               LAW OFFICE OF MICHAEL H. CARPER, P. C.
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                                               Lubbock, Texas 79401
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                                               By: /s/ Robert Nebb
                                                       Robert Nebb
                                                       SBN: 14847900
                                                       rnebb@carperlaw.com

                                               ATTORNEYS FOR DEFENDANTS


                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing was served upon all counsel
of record via the District Clerk’s ECF system on February 12, 2018.

                                               /s/ Robert N. Nebb
                                               Robert N. Nebb




DEFENDANTS F.R.CIV.P. 26(a)(3) DISCLOSURES                                                        3
